Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page1lof15 Page ID #1

UNITED STATES DISTRICT COURT

for the

Southern District of Illinois

conuarer L-GU R=" Grs

William A White

 

 

 

 

 

 

 

 

)
)
) (Clerk’s Office will provide)
Plaintifi/Petitioner(s) © CIVIL RIGHTS COMPLAINT
Vv. ) pursuant to 42 U.S.C. §1983 (State Prisoner)
Bebarkaenk: we eA ) G CIVIL RIGHTS COMPLAINT
Federal Bureau of Investi- ) P Sa ee (eceeel Presontey)
gation & CIV T
US Marshals Service ) pursuant to the Federal Tort Claims Act,
BureawWeentlanphe ines) ) 28 U.S.C. §§1346, 2671-2680, or other law

5 USC 552 Freeddft pt fihfgorm-

ation Act

lL JURISDICTION AUG 95 2015

Plaintiff: CLERK, U.S, DISTRICT COURT

  
 

 

SOUTHERN DISTRICT OF ILLINOIS
i EAST ST LOUIS OF “FICE
A. Plaintiff's mailing address, register number, and present place of
confinement.
William A White #13888-084
USP - Marion

PO Box 1060
Marion, IL 62959

Defendant #1:
B. Defendant _ Department of Justice is employed as
(a) (Name of First Defendant)

Department of the United States government
(b) (Position/ Title)

 

with 750 Missouri Ave Rm 104, E St. Louis, IL 62201
(c) (Employer’s Name and Address)

 

 

At the time the claim(s) alleged this complaint arose, was Defendant #
employed by the state, local, or federal government? KX Yes ONo

If your answer is YES, briefly explain:

The Department of Justice is a cabinet-level depart-

menc of the United States.

(Rev. 7/2010) 1
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 2of15 Page ID #2

Defendant #2:

C. Defendant Federal Bureau of Investigation is employed as

 

(Name of Second Defendant)

Agency Gf The Department of Justice
(Position/ Title)

with 750 Missouri Ave Rm 104, £ St Louis, IL 62201
(Employer's Name and Address)

 

At the time the claim(s) alleged in this complaint arose, was Defendant #2
employed by the state, local, or federal government? &Yes ONo

If you answer is YES, briefly explain:

The Federal Bureau of Investigation is an agency of

the Department of Justice.

Additional Defendant(s) (if any):

D. Using the outline set forth above, identify any additional Defendani(s).

United States Marshais Service

Federal Bureau of Prisons

* poth are agencies of tne Departinent of

Justice, and, may be served via the US

Attorneys Office at the above address.

(Rev. 7/2010)

ho
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page3o0f15 Page ID #3

II. PREVIOUS LAWSUITS

A,

(Rev. 7/2010)

Have you begun any other lawsuits in state or federal court relating to
your imprisonment? } Yes ONo

If your answer to ”A” is YES, describe each lawsuit in the space below. If
there is more than one lawsuit, you must describe the additional lawsuits
on another sheet of paper using the same outline. Failure to comply with

this provision may result in summary denial of your complaint.

1. Parties to previous lawsuits:
Plaintiff(s):

I have attached a litigation summary.

Defendant(s):

2. Court (if federal court, name of the district; if state court, name of
the county):

3. Docket number:

4. Name of Judge to whom case was assigned:

3. Type of case (for example: Was it a habeas corpus or civil rights
action?):

6. Disposition of case (for example: Was the case dismissed? Was it

appealed? Is it still pending?):

7. Approximate date of filing lawsuit:

8. Approximate date of disposition:
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 4of15 Page ID #4

LITIGATION HISTCRY

Dec

Ce

Ca

Jun

2005:

bo
Co
oO
Oo
eo

2007:

2008:

2008:

I sued four Montgomery Céunty, Maryland, police
officers for civil rights violations in the Dis-
trict of Maryland. I received a small fine for

procedural violations, but, lost the case.

My counsel, Jack Kennett, on my behalf, sued three
Hcusing and Urban Development employees in the
Western District of Virginia under Bivens. The
Court eventualiy ordered it refiled as an FTCA
claim; Jack was appealing this when he died; I

let the matter drop.

Jack Kennett sued Bank of America, Citibank, and,
Chase Bank, on my behalf; a favorable settlement
was reached. This was aiso Western District of

Virginia.

I was sued as a third party respondent in United
States v Henry ED Va Case No 07-cv-342. A sub-

poena issued against me was effectively quashed.

I was charged with contempt in In Re: White (United

 

States v Henry) 2013 US Dist LEXIS 133748 (ED Va

2013). Charges were dismissed.
t

I was charged with contempt in the Western District
of Virginia in a proceeding related to United

States v Henry; charges were dropped.
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page5of15 Page ID #5

Oct 17 2008:

Dec 11 2068:

I was charged in United States v White ND Ill

08-cr-054 with soliciting a felony against a

federal juror.

L
ry

*

charges were dismissed United States v White

 

638 F Supp Zd $35 (ND Ili 2009)

charges were reinstated United States v White

 

610 F 3d 956 (7th Cir 2610)

-l was convicted at trial Jan 5, 2011

charges were dismissed United States v White

 

779 F Supp 2d 778 (ND Ill 2071)

charges were reinstated United States v White

 

698 F 2d 1005 (7th Cir 2012)

I was sentenced to 42 months imprisonment

February 20, 2013

cert was denied White v Urited States 133 § Ct

1740, 185 L Ed 862 (2013)

habeas was filed December 2013 ND Ill Case No

13-cv-S9G642

* habeas was denied May 5, 2016

* certified non-frivolous appeal of Genial of
certificate of appealability pends 7th Cir
&pp No 16-2108

motion to recail the mandate filed Jul 71 2016

* denied Jul 14 2016

* certiorari pends (no case no yet assigned)

I was charged with one count of extortion, one
g ’

count of witness intimidation, and, five counts of
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page6of15 Page ID #6

threats in WD VA 08-cr-054,

*

I was acquitted at trial of extortion, and, two
threat counts; I was convicted of the lesser
charge of witness tampering, and, three threat
charges.

Another threat count was dismissed April 10, 2010

United States v White 2010 US DistrLEXIs 35993

 

(WD VA 2010)
I was sentenced to 30 months imprisonment April 10
2010

remand for resentencing March 31, 2012 [United
States-v White 458 Fed Appx 228 (4th Cir 2611)]

* I fled the United States May 4, 2012

* I was arrested in Playa del Carmen, Mexico

June &, 2012

3

I was sentenced to 10 months imprisonment for

Supervised release violations September 2012

Ey

I was resentenced to 33 months imprisonment

October 2012

habeas was filed February 2013

* habeas was denied April 2013 White v United
States 2013 US Dist LEXIS 52063 (WD VA 2013)

sL
~

upheld on appeal White v United States 536 Fed

 

Appx 339 (4th Cir 2073)

corain nobis was denied March 2015 United States

v_ White 2015 US Dist LEXIS 35314 (WD Va 2015)

* -upheid on appeal United States v White 608 F

 

Appx 160 (4th Cir 2015)

* cert denied White v United States 136 5 Ct 343

 

193 L Ed 2d 252 (2075)

a
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 7of15 Page ID#7

Sep-Nov 2010:

Feb

2013:

second or successive habeas denied Jan 2016

4th Cir App No 15-423

* 2241 review granted, and, pending, ND Til

16-cv-2514

* The United States does not contest actual
innocence of the underlying charges but has
delayed entry of vacatur with frivolous

motions, and, repeated defaults.

I sued a halfway house, fees prepaid, in White v
Secor, Inc 2010 US Dist LEXIS 117805 (WD VA 201G)
This was dismissed as frivolous. It is my only

strike,

I was charged with four counts of extortion in

United States v White WD Va 13-cr-013

* convicted of three couats of extortion, one of
the lesser included offense of threats, Nov 2
2013

* sentenced to $2 months imprisonment May 1 2014

* direct appeal denied Jan 2016 United States v
White 810 F 3d 212 (4th Cir 2916)

* cert denied May 5, 2016 White v United States
194 L Ed 2d 837 (2016)

* new trial denied June 27, 2016
* reconsideration pending

* habeas filed May 2016 WD Va 16-cv-90843

* pending; I maintain actual innocence
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 8of15 Page ID #8

Nov

Jun

20132

2014:

I was charged with five counts cf extortion, and,
one count of identity theft in MD FL 13-cr-364
* convicted all counts September 13, 2014

* identity theft charge dismissed Névember 2014

Ey

sentenced to 210 months imprisanment Nov 2074
direct appeal, 11th Cir App No 14-15255-BB,
denied July 2016

* cert will be filed Sep 2016

* I maintain my actual innocence in this matter

I filed White v Berger, Sr MD Fl 14-cv-936, alleg-

 

ing torture at the hands of two Seminole County,

Florida, Sheriffs, acting at the direction of two

US Marshals, also naming Seminole County, Florida,

as a defendant.

* dismissed as moot Jan 2015

* reinstated on appeal Mar 2015

claims dismissed for failure to state a claim

reinstated July 2015; claim PLRA certified

summary judgment for defendants Apr 2016:

* no personal liability for US Marshals;

* no respondent superior liability for Seminole
County;

* though the sheriffs do not deny torturing me,
tailure to exhaust administrative remedy re-
garding them (which is a lie).

* direct appeal pending 11th Cir 16-11606
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page9of15 Page ID #9

Tl. GRIEVANCE PROCEDURE

(Rev. 7/2010)

Is there a prisoner grievance procedure in the institution? Yes ONo

Did you present the facts relating to your complaint in the prisoner
grievance procedure? OYes (No

If your answer is YES,
1. What steps did you take?

2. What was the result?

If your answer is NO, explain why not.

This case relates to non-grievable FOIA issues.

If there is no prisoner grievance procedure in the institution, did you
complain to prison authorities? OYes ONo

If your answer is YES,
ila What steps did you take?

2. What was the result?

If your answer is NO, explain why not.

Attach copies of your request for an administrative remedy and any
response you received. If you cannot do so, explain why not:

I have attached all documents relevant to the FOTAs

in my possession.
ASU

par’

Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 10o0f15 Page ID #10

IV. STATEMENT OF CLAIM

A. State here, as briefly as possible, when, where, how, and by whom you feel
your constitutional rights were violated. Do not include legal arguments of
citations. If you wish to present legal arguments or citations, file a separate
memorandum of law. If you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph. If your claims
relate to prison disciplinary proceedings, attach copies of the disciplinary
charges and any disciplinary hearing summary as exhibits. You should also
attach any relevant, supporting documentation.

I hereby aver under penalty of perjury that the following is

true to the best of my knowledge, and, ability:

In December 2013, I filed Freedom of Information Act re-
guests with a number of federal agencies. i requested ail re-
corus pertaining to myself, and, from the Bureau of Prisons,

Siomler to Wings
certain other records, as detailed in Exhibit A(a):

x The FBI assigned my request ID # 1224695-00, located
just under 15,000 pages of documents (about 1,000 more than the
13,926 pages currently claimed), and, stated taat they would re-~-
spond to my request by December 2018. Lenn AW)S

* The US Marshals assigned my request ID# 2013USMS24506,

“
stated that they had located 1500 pages of records, and, has
never responded further; they also appear to have closed their
FOTA office; [Exh A(b)]
*

The Bureau of Prisons released 53 pages of marginally re-

levent documents, and, ignored my appeal.

I am involved in extensive civil, and, habeas, litigation
with the United States, and, will soon be filing additional

actions. One basis of these claims is that I have been three

(Rev. 7/2010) 5
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 11of15 Page ID #11

times tortured while in the custody of the United States Marshals
Service, and, the Bureau of Prisons. Another basis of these
claims is that the crimes that I was convicted of were actually
committed by two federal informants who stole my identity at the
direction of a rogus member of the Joint Terrorism Task Force,
Kelly Boaz, I have attached a draft of my claim against Boaz,
and, the two informants, identified as Perpetrators #1, and, #2,
as Exhibit B; the full complaint with Exhibits will be filed in
WD Va 13-cr-013 / 16-cv-90843, before September 25, 2016.

In duly 2016, after I received over 10,000 pages of docu-
mentS, my FOIA claims became much more pressing. As a result, I
Gid the following:

* On July 18, 2016, I wrote to the FBI, and, revoked any
waiver of their time to respond, requesting all documents
within 20 Gays. This letter was ignored. The letter is

Siony lear te
bev : Exh A(b); I cannot locate my
copy of it.

* With the above letter, I sent a letter requesting all in-
rormation on the following groups, and, individuals. As
I cannot locate the letter, I reconstructed this list
from a substantially similar discovery motion:

* Persons: James Porrazzo, Joshua Caleb Sutter aka Dav-
id Woods aka Tyier Moses aka Shree Shree Kalika-Kalki,
Mandir aka Stephen Brown aka Thugee Behram, Jilian Hoy
aka Comrade Morrison aka Jayalita Desi Devi, John Paul
Cupp, Jason-Adam Tonis, Kevin Walsh, Zaid Shakar al-

Jishi, Emily Ratney, Chris Hayes, Kent McLellan,

-Sa-
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 12o0f15 Page ID #12

*

*

August Kreis, Brett Stevens, and, David Lynch.

Groups: Any groups affiliated with the address 486
Sherwood Drive, Lexington, SC, American Front, New
Resistance, Green Star, Rural People's Party, US Song-
un Study Group, New Bihar Mandir Temple, United Juche

Front of North America, Swords of Songun, Aryan Nations
er any related group in Léxingten SE, any person or
entity in Lexington SC claiming affiliation with the
government of North Korea, any person or entity in
Lexington SC claiming affiliation with al-Qaeda or
any related group, any person or entity in Lexington
SC claiming affiliation with Alexander Dugin or the

Donetsk and Luhansk People's Republics, Manahuoko
Temporary Government, US Juche Study Group, Russian
Defense League, or, 12th SS Cavalry Battalion (also
called ist SS Cavalary Brigade).

I wrote the United States Marshals Service to also

renew my FOIA request; their office was closed. [Exh.

A(b)]

i filed a new FOIA with the Bureau of Prisons August 7,

2016, requesting the following documents: [Exh A(q)]

* regarding myself: all medical records, all psychologi-

cal records, all requests for administrative remedy and

tort claims, all disciplinary records, all SENTRY re-
cords, all Prison Security and Intelligence Record Sys-
tem [JUSTICE/BOP-G01 ] records, all communications be-
tween Bureau of Prisons personnel, and, between Bureau
of Prisons personnel, and, other law enforcement agenc-

ies, any US Attorney's Office or any agency of the At-
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 13o0f15 Page ID #13

torney General, including the US Department of Justice Civil
Rights Division;

* regarding the Metropolitan Correctional Center Chi-
cago: Ali maintenance records related to the 1ith
Floor Special Housing Unit between October 17, 20608,
anc December 29, 2008, particularly, but, not limited
to, xecords related to heating problems, insect
infestations, and, the flooding of celis with human
fecal material; and, the green SHU log bosks for the
Same period.

The response that I received is attached as Exh A(@.
The response tells me that a FCIA request is received
when it is sent to "the component at the address ...
which is noted above. (Appendix I, Title 28 CFR, has
no address in the version available on LEXIS-NEXIS).
The address noted above is 400 State Avenue Tower II
Suite 600 Kansas City, KS 66101, which is where the
letter came from. While I am remailing the request to
Central Offfce, as I understand it, this letter ex-
mausts my legai, pre-iiling, administrative requirements.
{which, really, were exhausted in 20714 with my prior

request.)

Having been unable to obtain the requested records from
the Department of Justice, and, its components, I now ask the

Court for an injunction,

Hovwrasse Ovuelferw, > Sé~peky nome Une ratkin

Ahul o—
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 14o0f15 Page ID #14

¥, REQUEST FOR RELIEF

State exactly what you want this court to do for you. If you are a state or federal
prisoner and seek relief which affects the fact or duration of your imprisonment (for
example: illegal detention, restoration of good time, expungement of records, or
parole), you must file your claim on a habeas corpus form, pursuant to 28 U.S.C.
§§ 2241, 2254, or 2255. Copies of these forms are available from the clerk’s office.

I would iike the COurt to order the records specified in my

various FOIA requests released to me.

VI. JURY DEMAND (check one box below)

The plaintiff GO does & does not request a trial by jury.

DECLARATION UNDER FEDERAL RULE OF CIVIL PROCEDURE 11

I certify to the best of my knowledge, information, and belief, that this complaint is in full
compliance with Rule 11(a) and 11(b) of the Federal Rules of Civil Procedure. The
undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.

 

4
Signed on: 8-19-16 bypA—

(date) Signature of Plaintiff

USP~Marion PO Box 1000 William A White
Street Address Printed Name

Maricn, IL 62959 #13888-084
City, State, Zip Prisoner Register Number

 

Signature of Attorney (if any)

(Rev, 7/2010)
Case 3:16-cv-00948-JPG Document1 Filed 08/25/16 Page 15o0f15 Page|

SBIEIS peur)

~
max
aoe
s3=z
3-5
ron
9°
ee
— “=
_*
=<
a m
ho
Bo
c

@ps0-S88el oa

Ill PS 10 ISIG S/N -- 44819

Sava atay

 
  

FO

LUVGH Aldund

FOREVER USA

SLUVaH TTdung

 

LUvau TTduad

 

FOREVER USA

LUYUVaAH ATdund

 

FOREVER USA

VOW ~ Kinynas’ YAVTADS PAV
WIP-RQIYSN RANE) YLPNyO)

NI
(A

Nd

Ne

REVER USA

#4 UVaH T1duna

 

FOREVER USA

LYUVIH ATlduna

 

BLYUVGH 1Td und

 

FOREVER USA

wLUVYAH 2Tdund

 

FOREVER USA
